            Case 1:16-vv-01714-UNJ Document 35 Filed 06/15/18 Page 1 of 3
                                                                                       REISSUED FOR PUBLICATION
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                                     OFFICE OF SPECIAL MASTERS
                                             No. 16-1714V                                                            FILED
                                               (not to be published)
                                                                                                                   APR 3 0 2018
*************************                                                                                          · J.S . COURT OF
REGINA FOSTER, on behalf of and as *                                                                           F   ,.: OERAL CLAIMS
mother and natural guardian ofH.G. *
(a minor),                         *                             Special Master Corcoran
                                   *
                                   *                             Filed: April 30, 2018
                     Petitioner,   *
       v.                          *
                                   *                             Dismissal of Petition; Vaccine
SECRETARY OF HEALTH                *                             Act; Denial Without Hearing; Failure
AND HUMAN SERVICES,                *                             to Prosecute.
                                   *
                     Respondent.   *
                                                        *
*************************

Regina Foster, pro se, Trenton, GA.

Debra A. Filteau Begley, U.S. Dep ' t of Justice, Washington, D.C. for Respondent.

      DECISION DISMISSING CASE FOR INSUFFICIENT PROOF AND FAILURE TO
                                PROSECUTE 1

        On December 29, 2016, Regina Foster filed a petition seeking compensation under the
National Vaccine Injury Compensation Program on behalf of her minor child, H.G. 2 The Petition
alleged that the human papillomavirus ("HPV") vaccines that H.G. received on October 29, 2014,



1
  Although this Decision has been formally designated " not to be published," it will nevertheless be posted on the
Court of Federal Claims's website in accordance with the E-Govemment Act of2002, 44 U.S.C. § 3501 (20 12)). This
means that the Decision will be available to anyone with access to the internet. As provided by 42 U .S .C. § 300aa-
l 2(d)(4)(8), however, the parties may object to the Decision 's inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule l 8(b), each party has fourteen days within which to request redaction "of any
information furnished by that party: ( 1) that is a trade secret or commercial or financial in substance and is privileged
or confidential ; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy." Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public.
id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No . 99-660,
100 Stat. 3758, codified as amended at 42 U.S .C. §§ 300aa-10 through 34 (2012) ("Vaccine Act" or " the Act").
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).




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          Case 1:16-vv-01714-UNJ Document 35 Filed 06/15/18 Page 2 of 3




January 5, 2015, February 4, 2015, and November 11 , 2015, caused her to suffer from postural
orthostatic tachycardia syndrome ("POTS"). See Petition ("Pet.") at 1.

        The first five months of the case were dedicated to filing complete medical records. The
parties filed the Joint Statement of Completion on May 1, 2017 (ECF No. 11 ). Thereafter, on June
16, 201 7, Respondent filed her Rule 4( c) Report. That Report contested the appropriateness of an
entitlement award. See Rule 4( c) Report, dated June 16, 2017 (ECF No. 12). Respondent
specifically contended that the medical records did not firmly conclude that H.G. was suffering
from POTS, and further asserted that Petitioner had not offered preponderant evidence that the
HPV vaccine was the cause of H.G.'s symptoms. Id. at 15-18.

         During a status conference held on July 11, 2017, I expressed concern with regard to
Petitioner' s causation theory given the lack of support in the Vaccine Program for an HPV-induced
POTS injury (and given the lack of a firm diagnosis from H.G. ' s treaters). I thus ordered Petitioner
to file an expert report in support of her claim specifically connecting her alleged causation theory
to the medical facts alleged in her petition on or before September 29, 2017. See Non-PDF
Scheduling Order, dated July 11, 2017.

        An additional status conference was held on October 13, 2017, to discuss Petitioner' s
progress in obtaining an expert report, in light of counsel ' s request for an extension of time to file
the report (ECF No . 14). At this time, Petitioner' s counsel indicated a possible intent to withdraw
from the case given the claim's overall weaknesses. I thus directed counsel to file a status report
on or before November 3, 2017, indicating if he planned to withdraw from the case, and also to
propose a deadline to file the outstanding expert report, no later than the end of the year (or
December 31 , 2017) . Counsel filed a formal motion to withdraw on November 3, 2017, which I
granted (ECF No. 29). Counsel also indicated that Petitioner intended to proceed with her claim,
but did not offer any additional statements concerning the past-due expert report. See Status
Report, dated Dec. 8, 2017 (ECF No. 21).

        Following counsel ' s withdrawal, I held a status conference with Petitioner, at which time
I explained to her my overall concerns regarding her claim's viability. See Order, dated Dec. 15,
2017 (ECF No. 23). During the conference, I agreed to extend Petitioner' s deadline to file the
expert report (originally ordered in July 2017) until March 30, 2018. I cautioned Petitioner that I
would not extend the deadline any further.

        Petitioner entirely missed the March 30, 2018, deadline. Thus, on April 4, 2018, I ordered
Petitioner to file her expert report immediately. See Order, dated Apr. 4, 2017 (ECF No. 31 ). After
Petitioner ignored that deadline as well, I directed Petitioner to show cause immediately why her
case should not be dismissed for failure to comply with my orders. See Order to Show Cause, dated



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                 Case 1:16-vv-01714-UNJ Document 35 Filed 06/15/18 Page 3 of 3
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     Apr. 13, 2018 (ECF No. 32). Despite this Order, Petitioner still has not filed her expert report, nor
     filed a response of any kind to my show cause Order.

             To receive compensation under the Vaccine Program, a petitioner must prove either (1)
     that she suffered a "Table Injury" - i.e. , an injury falling within the Vaccine Injury Table -
     corresponding to one of her vaccinations, or (2) that she suffered an injury that was actually caused
     by a vaccine. See Sections 13(a)(l)(A) and 1l(c)(l). Petitioner had several chances to offer an
     expert report or other evidence that would support her claim, and she failed to submit such
     evidence into the record. It is therefore appropriate to dismiss the claim for failure of proof.

             In addition, Petitioner's claim must be dismissed due to her repeated failures to comply
     with my orders. A petitioner's inaction and failure to abide by court orders risks dismissal of a
     claim. Tsekouras v. Sec 'y of Health & Human Servs., 26 Cl. Ct. 43 9 (1992), aff'd per curiam, 99 l
     F.2d 810 (Fed. Cir. 1993); Sapharas v. Sec 'y of Health & Human Servs., 35 Fed. Cl. 503 (1996);
     Vaccine Rule 21(b). Petitioner ignored a deadline set by an Order I issued, and then ignored a
     second warning that the case would soon be dismissed if she again failed to respond. In each
     instance I provided her with more than enough time to contact my chambers or file some kind of
     status report. She was therefore on ample notice of the risks she took not taking my orders
     seriously. In total, Petitioner was allowed more than nine months to file an expert report, but failed
     to do so.

             Under the Vaccine Act, a petitioner may not receive a Vaccine Program award based solely
     on her claims alone. Rather, the petition must be supported by either medical records or by the
     opinion of a competent physician. Section 13(a)(l ). In this case, there is insufficient evidence in
     the record for Petitioner to meet her burden of proof. Petitioner's claim therefore cannot succeed
     and must be dismissed. Section 1l(c)(l)(A).

             Thus, this case is dismissed for insufficient proof and failure to prosecute. The Clerk
     shall enter judgment accordingly. 3

              IT IS SO ORDERED.


                                                                               Brian H. Corcoran
                                                                               Special Master




     3 Pursuant to Vaccine Rule l l (a), the parties may expedite judgment by filing a joint notice renouncing their right to
     seek review.

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